 

Vv FILED OSe 2: T6150 2896-SRB Document 2dbaFiled/19/28/21 Page + Ot W— OZ. b Pee

_... RECEIVED ___ COPY

OCT 2 8 2021

“ee

 
    

SS =

ecry

| CLERK US DISTRICT COU iN
es ens ge MeO Yo X asa

SRB

pe
— lhe =r, eC

Seek Dot be. Bega id tA
pm | OC \6.56 Beli sas ek Seog A eal \.
B SSS Qsescl Ne \wsely bsivs, Pesheas
a 822 OX Qaew ror roel WAY Dead Sabie
=e anl <ad Kehoe Yor Ghe Pla:
BES ‘Dowell Koa © bow Od wa & Derfott a ats
8 paar © (emebbock fol Suke Soe poe»

. | Be 2 Seoib York ‘OW
clogs: | Palo Ts

(hk we
_ wah pelued

Ane Cen. \c

 

Yeor | a

po ei Ong

mu { hae pe plan’ a
i at ete!

fen bee But

h Emerle

— Bk get sk Rewer (deel tid.
__ | 60 {Qasr _
— Sot Bb Dasaach, Sear bro

x debut ee es te

ek :

ls-

q Tick
id “wes ol + es (4

: ea. :
cell Gd ised
ped pho

Plow the fo
oo tthe Bore

Red. Cw VF

veel Carch

“wheel ap

Qala wes

Shebed on l~ A ar aot “ay jd
Re eee ol. Slhale De “fig ol
ot oe ae ON aoe ol ex enf
ab One

HE ETS,
ay Sg Ha as a Hike

bh cecsiee/

+

  

bs
cael

 
 

Case 2:16-cv-02696-SRB Document 208 Filed 10/28/21 Page 2 of 4

peer ded. ea settle for Tle

Pee, ape On
free wh Gisionas ous fe Zook
oS X dal ep Sas
ot Wr “i Or bese ae ~
Lor © Yo ver
Cpa cah Merl Fo Base dt, Posehn, Se

Atowk without aaiws ty Te bole
We DS ins 08 Bd Dal Many pln
Call vet eng ts ven ba i Ie
pie wi Sit rat pape a glee od
nh Zo Ob Cath
ornie “Avil Toe J ose yo

Someml Ocdered 0,4 /so0 jee
Gt hit sot tea caches is “iy ek,
i

bp bane bln Cog
Gurl whey d
Gor Hus yet ees

Te Qcéire dt i hed : eee
Ftheek Gox for nt the a
Frost “Ys TC aa LT.

65 @Y hes goth cng o£ Ze lahec, Qe2t
 

Case 2:16-cv-02696-SRB Document 208 Filed 10/28/21 Page 3 of 4

| =" 5 ae
M.A, meee ee WO {he peewvarts Wey Lv te
5 on Wows VD 2a | Rest ~osatad by
oy Qopoird Moe Ho ta ea at
Wore Ag Sek Tor Weed Trad
a Sn) us cituelAd TT an “Teel
Wwe Work Cr A bal hea
= Qe ax] me wo en C4 =
Tre ge os at Cul le nit Nope ble
xX os Cat re enue Spe
z inves z i. a
eves prot YY eat re ms

tee 0

aos Td bef thao tl”
Ne omy bagel ~ ce "a dos
Spay bayer en oe Lace

Gry a “Lire
Paral Qo. e Moree (woelwes ott Pol, ip
fen a | nonah et! EL Ap k parler

eed Ck. Kor [Lelp ae colt gece]

»y atleck ¢ pelle QcteA |
rl baiag my Cee bo chd ond hey 7

“yn

ore bat “a

 
 

Case 2:16-cv-02696-SRB Document 208 Filed 10/28/21 Page 4 of 4

Ja _P revdes Pos
l. OC tea. (be Nembsrsnet
ppdehe Current Loa’ qe tw dy oreo hane UX?

the fe ue basa. or Jd. Lat
te > | we for, é hosg

dy cx Dor
C vpte 560” Lag ene ds bbl wag
Wn

Al » | pee Qoreeret

a Bi traord a fas: Petinfevned .
0 dail Pye yeh up te 15 adiengl

ee tic. deA Gz. oe

ROME cl Te

iw Ade

pe eo Coed rorboc we lel
‘elif Jong llam (0 Fock +00

So Rass co nS the leuk Ve

ners “at? Pale a Ze |
Pope

Nad e_ ea ba ij .
